Case 1:03-md-01570-GBD-SN Document 9649-1 Filed 03/15/24 Page 1 of 2

DEFAULT JUGDMENT MOTION COVER SHEET

MDL MOVING PAPERS
Motion: ECF No. _ 9646

Memorandum of law: ECF No. _ 9647
Declaration & supporting exhibits: ECF No. _ 9648

PLAINTIFFS
Please describe each set of plaintiffs requesting judgments in this motion.
Exhibit Description of Plaintiffs Cause(s) of Action
A Solatium of U.S. National Decedents FSIA, 28 U.S.C. Sec. 1605A(c)

B Estates of U.S. National Decedents on 9/11/2001 | FSIA, 28 U.S.C. Sec. 1605A(c)

DEFENDANTS
Please list all defendants the plaintiffs are moving against:

Islamic Republic of Iran, Islamic Revolutionary Guard Corps, Central Bank of the Islamic Republic of Iran

COMPLIANCE
As stated in ECF No. _ 9648 at J _15_, counsel followed the quality control measures outlined in
ECF No. 3433 and adopted in ECF No. 3435,

As stated in ECF No. _ 9648 at 7 _15_, these plaintiffs have not previously received judgments
against these defendants.

Excel versions of any tables attached to the proposed order were emailed to
Netburn_ NYSDChambers@nysd.uscourts.gov on _03_/ 15 _/ 2024

SUBJECT MATTER JURISDICTION
H The Court previously addressed subject matter jurisdiction over these claims in ECF No. __ 85

O The Court has not previously addressed subject matter jurisdiction over these claims.

PERSONAL JURISDICTION
H The Court previously addressed personal jurisdiction over these defendants in ECF No. __ 85

O The Court has not addressed personal jurisdiction over these defendants.

FACTUAL & LEGAL QUESTIONS

O This motion requests 0 new functional equivalence findings; D new personal injury assessments;
or O resolution of a new issue:

H ‘This motion does not raise novel factual or legal issues.
Case 1:03-md-01570-GBD-SN Document 9649-1 Filed 03/15/24 Page 2 of 2

RELEVANT FILINGS
For each member case, list docket entries for the corresponding filings. Duplicate this page if additional space is needed.

Member Case & Notices of Amendment Alternative Service Affidavit of Certificate of Liability
Operative Complaint & Substitutions Order Service Default Judgment
*list entries relevant to moving plaintiffs* |*complete if applicable* *leave blank if requesting
liability judgment*
1:15-cv-09903 (GBD)(SN), 53 1:15-cv-09903 (GBD)(SN), 288 (280-1), 11/10/2016, 64 12/5/2016, 67 1/31/2017, 85

676, 683; 1:03-md-01570 (GBD)(SN),
4778, 9621, 9622

